840 F.2d 10Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Willie H. BROOKS, Petitioner-Appellant,v.James AIKEN, Warden, Respondent-Appellee.
    No. 87-7337.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 30, 1987.Decided Feb. 17, 1988.
    
      Willie H. Brooks, appellant pro se.
      Frank Louis Valenta, Jr., Office of Attorney General, for appellee.
      Before WIDENER, MURNAGHAN, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Brooks v. Aiken, C/A No. 86-2386 (D.S.C. Oct. 2, 1987).
    
    
      2
      DISMISSED.
    
    